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                                EXHIBIT E
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 1. A system for            As shown below, Samsung’s Bixby virtual assistant utilizes a system for presenting location-based
 presenting location-       information to a mobile electronic device dependent on its location.
 based information to a
 mobile electronic
 device dependent on its
 location, comprising:
 a communication            On information and belief, Samsung’s Bixby utilizes a communication network interface port, including,
 network interface port;    for example,
                            to send and receive information related to user requests.
 a database system,         Samsung’s Bixby virtual assistant utilizes a database system, configured to automatically store and retrieve
 configured to              location-based information for a traveler, the location-based information comprising location-based travel
 automatically store and    information and location-based advertisements.
 retrieve location-based
 information for a          For example, in testing, a user asked Bixby, “Hi Bixby, how long will it take me to get home right now in
 traveler, the location-    traffic?”
 based information
 comprising location-       As pictured below, Bixby utilized Google Maps to display an answer to the request, showing the answer to
 based travel               be twelve minutes. This evidences that Samsung’s Bixby utilizes a database configured to automatically
 information and            store and retrieve location-based information for a traveler. This includes location-based travel information
 location-based             (e.g., the information showing the route from the user’s current location to the destination) and location-
 advertisements; and        based advertisements (e.g., the advertisements for Costco Wholesale and Firestone Complete Auto Care).
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 at least one server        Samsung utilizes at least one server having at least one automated processor configured to automatically
 having at least one        control access to the database system, to store and retrieve the location-based information.
 automated processor,
 configured to:             For example, as illustrated above, Samsung Bixby utilized a server that stored and retrieved the location-
 automatically control      based information relating to the user’s route from his current location to his destination.
 access to the database
 system, to store and
 retrieve the location-
 based information;

 automatically receive a    Samsung utilizes at least one server having at least one automated processor configured to automatically
 location from a mobile     receive a location from a mobile electronic device.
 electronic device;
                            For example, as illustrated in the example above, Samsung utilized a server that automatically received a
                            location from the user’s mobile electronic device.

 automatically receive      Samsung utilizes at least one server having at least one automated processor configured to automatically
 location-based             receive location-based information from the mobile electronic device.
 information from the
 mobile electronic          For example, as illustrated in the example above, Samsung utilized a server that automatically received
 device;                    location-based information from the mobile electronic device (e.g., speed and traffic-related information,
                            as indicated by the orange segments near the user’s location).
 automatically retrieve     Samsung utilizes at least one server having at least one automated processor configured to automatically
 location-based travel      retrieve location-based travel information from the database system dependent on the received location of
 information from the       the mobile electronic device.
 database system
 dependent on the           For example, as illustrated in the example above, Samsung utilized a server that automatically retrieved
 received location of the   location-based travel information from the database system (e.g., route and traffic information) dependent
 mobile electronic          on the received location of the mobile electronic device.
 device;
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 automatically retrieve a   Samsung utilizes at least one server having at least one automated processor configured to automatically
 location-based             retrieve a location-based advertisement from the database system dependent on at least the received
 advertisement from the     location of the mobile electronic device and relevant to at least one spoken keyword.
 database system
 dependent on at least      For example, as illustrated in the example above, Samsung utilized a server that automatically retrieved a
 the received location of   location-based advertisement from the database system dependent on at least the received location of the
 the mobile electronic      mobile electronic device and relevant to at least one spoken keyword (e.g., advertisements for Costco and
 device and relevant to     Firestone near the user’s route to his spoken destination, “home.”
 at least one spoken
 keyword; and

 automatically present      Samsung utilizes at least one server having at least one automated processor configured to automatically
 the retrieved location-    present the retrieved location-based advertisement to a user of the mobile electronic device.
 based advertisement to
 a user of the mobile       For example, as illustrated in the example above, Samsung utilized a server that automatically presented
 electronic device.         the retrieved location-based advertisement to a user of the mobile electronic device.
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 2. The system              On information and belief, Samsung’s Bixby virtual assistant utilizes a server configured to retrieve the
 according to claim 1,      location-based advertisement from the database system dependent on at least the received location of the
 wherein the at least one   mobile electronic device and a prior communications from the mobile electronic device.
 server is further
 configured to retrieve     For example, on information and belief, advertisements displayed to a user are based at least in part on
 the location-based         prior communications from the user’s mobile electronic device.
 advertisement from the
 database system
 dependent on at least
 the received location of
 the mobile electronic
 device and a prior
 communications from
 the mobile electronic
 device.
 3. The system              Samsung’s Bixby virtual assistant utilizes a communication network interface port configured to interface
 according to claim 1,      to the Internet, and the mobile electronic device comprises a cellular telephone.
 wherein the
 communication              For example, Samsung’s Bixby may be used with Samsung cellular telephones interfacing with Samsung’s
 network interface port     servers over the Internet. The device used in the illustration described above was a Samsung cellular
 is configured to           telephone.
 interface to the
 Internet, and the mobile
 electronic device
 comprises a cellular
 telephone.
 4. The system              Samsung’s Bixby virtual assistant utilizes a location received from the mobile electronic device via global
 according to claim 3,      positioning satellite data.
 wherein the location
 received from the          https://www.samsung.com/za/support/mobile-devices/how-do-i-change-the-location-tracking-settings-gps-
 mobile electronic          on-my-samsung-galaxy-alpha/
 device is global
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 positioning satellite
 data.
 5. The system              Samsung’s Bixby virtual assistant utilizes location-based travel information, including traffic information.
 according to claim 1,
 wherein the received       This is evidenced, for example, by the orange segments in the user’s route below.
 location-based travel
 information comprises
 traffic information.
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 6. The system              Samsung’s Bixby virtual assistant utilizes location-based travel information, including traffic information,
 according to claim 1,      including road hazard information.
 Wherein the received
 location-based travel      This is evidenced, for example, by the traffic-accident icon near the user’s route in the screenshot below.
 information comprises
 road hazard
 information.
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 8. The system              Samsung’s Bixby virtual assistant utilizes a system that displays a warning icon on a GPS map of the
 according to claim 1,      mobile electronic device.
 wherein the transmitted
 location-based travel      This is evidenced, for example, by the traffic-accident icon near the user’s route in the screenshot below.
 route information is
 configured to display a
 warning icon on a GPS
 map of the mobile
 electronic device.
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 9. The system              On information and belief, the database system utilized by Samsung’s Bixby virtual assistant is configured
 according to claim 1,      to store an image and associated location of the image.
 wherein the database
 system is further          For example, a user can say, “Hi Bixby, remember my parking location.” Bixby records the location in a
 configured to store an     Reminder and asks the user to take a photo of the parking location. The user can then say, “Hi Bixby,
 image and associated       where did I park my car?” Bixby then shows the Reminder and photo, as shown in the example below.
 location of the image.
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 10. The system             The server utilized by Samsung’s Bixby virtual assistant is configured to receive a search query through
 according to claim 1,      the communication network interface port, search the database system based on the search query, receive a
 wherein the at least one   response to the query from the database system, and transmit the response through the communication
 server is configured to    network interface port.
 receive a search query
 through the                For example, this is illustrated in the example described above, in which Samsung’s Bixby received a
 communication              search query from a user through the communication network interface port, searched the database system
 network interface port,    in response to the query, received a response to the query from the database system, and transmitted the
 search the database        response through the communication network interface port. This is illustrated in the query response
 system based on the        displayed to the user.
 search query, receive a
 response to the query
 from the database
 system, and transmit
 the response through
 the communication
 network interface port.
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 11. A method for           On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 presenting location-       performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 based information to a     performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 mobile electronic          accused instrumentality as described in this claim chart without performance of the steps recited in this claim.
 device dependent on its    By providing the functionality of the accused instrumentality as described herein, Defendant also controls
 location, comprising:      the manner and/or timing of the functionality described in this claim chart. In other words, for a user to
                            utilize the functionality described in this claim chart, the steps of this claim must be performed in the manner
                            described herein. Without performance of the steps as described herein, the Defendant’s functionality will
                            not be available to users.

                            As shown below, Samsung’s Bixby virtual assistant utilizes a method for presenting location-based
                            information to a mobile electronic device dependent on its location.
 providing a database       Samsung’s Bixby virtual assistant utilizes a database system, configured to automatically store and retrieve
 system, for storing and    location-based information for a traveler, the location-based information comprising location-based travel
 retrieving location-       information and location-based advertisements.
 based information for a
 traveler, the location-    For example, in testing, a user asked Bixby, “Hi Bixby, how long will it take me to get home right now in
 based information          traffic?”
 comprising location-
 based travel               As pictured below, Bixby utilized Google Maps to display an answer to the request, showing the answer to
 information and            be twelve minutes. This evidences that Samsung’s Bixby utilizes a database configured to store and
 location-based             retrieve location-based information for a traveler. This includes location-based travel information (e.g., the
 advertisements;            information showing the route from the user’s current location to the destination) and location-based
                            advertisements (e.g., the advertisements for Costco Wholesale and Firestone Complete Auto Care).
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 receiving a location       Samsung’s Bixby virtual assistant involves receiving a location from a mobile electronic device with at
 from a mobile              least one server through a communication network interface port.
 electronic device with
 at least one server        For example, as illustrated in the example above, Samsung utilized a server that received a location from
 through a                  the user’s mobile electronic device.
 communication
 network interface port;

 receiving location-        Samsung’s Bixby virtual assistant involves receiving location-based information from the mobile
 based information from     electronic device through the communication network interface port.
 the mobile electronic
 device through the         For example, as illustrated in the example above, Samsung utilized a server that received location-based
 communication              information from the mobile electronic device (e.g., speed and traffic-related information, as indicated by
 network interface port;    the orange segments near the user’s location). Moreover, Samsung’s Bixby virtual assistant may also
                            involve receiving other location-based information from the mobile electronic device, such as information
                            regarding road hazards or police activity.
 retrieving location-       Samsung’s Bixby virtual assistant involves retrieving location-based travel information from the database
 based travel               system dependent on the received location of the mobile electronic device.
 information from the
 database system            For example, as illustrated in the example above, Samsung utilized a server that retrieved location-based
 dependent on the           travel information from the database system (e.g., route and traffic information) dependent on the received
 received location of the   location of the mobile electronic device.
 mobile electronic
 device;

 retrieving a location-     Samsung’s Bixby virtual assistant involves retrieving a location-based advertisement from the database
 based advertisement        system dependent on at least the received location of the mobile electronic device and relevant to at least
 from the database          one spoken keyword.
 system dependent on at
 least the received         For example, as illustrated in the example above, Samsung utilized a server that retrieved a location-based
 location of the mobile     advertisement from the database system dependent on at least the received location of the mobile
 electronic device and      electronic device and relevant to at least one spoken keyword (e.g., advertisements for Costco and
                            Firestone near the user’s route to his spoken destination, “home.”
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 relevant to at least one
 spoken keyword; and

 presenting the retrieved   Samsung’s Bixby virtual assistant involves presenting the retrieved location-based advertisement to a user
 location-based             of the mobile electronic device
 advertisement to a user    presenting the retrieved location-based advertisement to a user of the mobile electronic device.
 of the mobile electronic
 device                     For example, as illustrated in the example above, Samsung utilized a server that presented the retrieved
                            location-based advertisement to a user of the mobile electronic device.
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 presenting the retrieved   Samsung’s Bixby virtual assistant involves presenting the retrieved location-based advertisement to a user
 location-based             of the mobile electronic device
 advertisement to a user    presenting the retrieved location-based advertisement to a user of the mobile electronic device.
 of the mobile electronic
 device.                    For example, as illustrated in the example above, Samsung utilized a server that presented the retrieved
                            location-based advertisement to a user of the mobile electronic device.
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 12. The method             On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according to claim 11,     performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 wherein the at least one   performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 server further retrieves   accused instrumentality as described in this claim chart without performance of the steps recited in this
 the location-based         claim. By providing the functionality of the accused instrumentality as described herein, Defendant also
 advertisement from the     controls the manner and/or timing of the functionality described in this claim chart. In other words, for a
 database system            user to utilize the functionality described in this claim chart, the steps of this claim must be performed in
 dependent on at least      the manner described herein. Without performance of the steps as described herein, the Defendant’s
 the received location of   functionality will not be available to users.
 the mobile electronic
 device and a prior         Samsung’s Bixby virtual assistant involves the server retrieving the location-based advertisement from the
 history of                 database system dependent on at least the received location of the mobile electronic device and a prior
 communications from        history of communications from the mobile electronic device.
 the mobile electronic
 device.                    For example, on information and belief, advertisements displayed to a user are based at least in part on
                            prior communications from the user’s mobile electronic device.

 13. The method             On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according to claim 11,     performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 Wherein the                performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 communication              accused instrumentality as described in this claim chart without performance of the steps recited in this
 network interface port     claim. By providing the functionality of the accused instrumentality as described herein, Defendant also
 is an interface to the     controls the manner and/or timing of the functionality described in this claim chart. In other words, for a
 Internet, the mobile       user to utilize the functionality described in this claim chart, the steps of this claim must be performed in
 electronic device          the manner described herein. Without performance of the steps as described herein, the Defendant’s
 comprises a cellular       functionality will not be available to users.
 telephone, and the
 location received from     Samsung’s Bixby virtual assistant utilizes a communication network interface port is an interface to the
 the mobile electronic      Internet, the mobile electronic device comprises a cellular telephone, and the location received from the
 device is global           mobile electronic device is global positioning satellite data.
 positioning satellite
 data.
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                            For example, Samsung’s Bixby may be used with Samsung cellular telephones interfacing with Samsung’s
                            servers over the Internet. The device used in the illustration described above was a Samsung cellular
                            telephone.

                            Samsung’s Bixby virtual assistant utilizes a location received from the mobile electronic device via global
                            positioning satellite data.

                            https://www.samsung.com/za/support/mobile-devices/how-do-i-change-the-location-tracking-settings-gps-
                            on-my-samsung-galaxy-alpha/
 14. The method             On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according to claim 11,     performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 wherein the received       performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 location-based travel      accused instrumentality as described in this claim chart without performance of the steps recited in this
 information comprises      claim. By providing the functionality of the accused instrumentality as described herein, Defendant also
 information selected       controls the manner and/or timing of the functionality described in this claim chart. In other words, for a
 from the group             user to utilize the functionality described in this claim chart, the steps of this claim must be performed in
 consisting of one or       the manner described herein. Without performance of the steps as described herein, the Defendant’s
 more of: traffic           functionality will not be available to users.
 information; and road
 hazard information.        Samsung’s Bixby virtual assistant utilizes location-based travel information, including traffic information
                            and road hazard information.
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                                This is evidenced, for example, by the orange segments in the user’s route below (evidencing slower
                                          traffic) and the traffic-accident icon near the user’s route in the screenshot below.
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 16. The method             On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according to claim 11,     performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 wherein the transmitted    performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 location-based travel      accused instrumentality as described in this claim chart without performance of the steps recited in this
 route information          claim. By providing the functionality of the accused instrumentality as described herein, Defendant also
 displays a warning icon    controls the manner and/or timing of the functionality described in this claim chart. In other words, for a
 on a GPS map of the        user to utilize the functionality described in this claim chart, the steps of this claim must be performed in
 mobile electronic          the manner described herein. Without performance of the steps as described herein, the Defendant’s
 device.                    functionality will not be available to users.

                            Samsung Bixby’s virtual assistant utilizes transmitted location-based travel route information displaying a
                            warning icon on a GPS map of the mobile electronic device.

                            This is evidenced, for example, by the traffic-accident icon near the user’s route in the screenshot below.
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 17. The method             On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according to claim 11,     performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 wherein the database       performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 system stores images       accused instrumentality as described in this claim chart without performance of the steps recited in this
 and respective             claim. By providing the functionality of the accused instrumentality as described herein, Defendant also
 associated locations for   controls the manner and/or timing of the functionality described in this claim chart. In other words, for a
 each image, and            user to utilize the functionality described in this claim chart, the steps of this claim must be performed in
 retrieves the stored       the manner described herein. Without performance of the steps as described herein, the Defendant’s
 image based on the         functionality will not be available to users.
 received location from
 the mobile electronic      On information and belief, the database system utilized by Samsung’s Bixby virtual assistant stores an
 device.                    image and respective associated locations for each image, and retrieves the stored image based on the
                            received location from the mobile electronic device.

                            For example, a user can say, “Hi Bixby, remember my parking location.” Bixby records the location in a
                            Reminder and asks the user to take a photo of the parking location. The user can then say, “Hi Bixby,
                            where did I park my car?” Bixby then shows the Reminder and photo, as shown in the example below.
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 18. The method             On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according to claim 11,     performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 wherein the at least one   performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 server receives a search   accused instrumentality as described in this claim chart without performance of the steps recited in this
 query through the          claim. By providing the functionality of the accused instrumentality as described herein, Defendant also
 communication              controls the manner and/or timing of the functionality described in this claim chart. In other words, for a
 network interface port,    user to utilize the functionality described in this claim chart, the steps of this claim must be performed in
 searches the database      the manner described herein. Without performance of the steps as described herein, the Defendant’s
 system based on the        functionality will not be available to users.
 search query, receives a
 response to the query      Samsung’s Bixby virtual assistant involves the server receiving a search query through the communication
 from the database          network interface port, searching the database system based on the search query, receiving a response to
 system, and transmits      the query from the database system, and transmitting the response through the communication network
 the response through       interface port.
 the communication
 network interface port.    For example, this is illustrated in the example described above, in which Samsung’s Bixby received a
                            search query from a user through the communication network interface port, searched the database system
                            in response to the query, received a response to the query from the database system, and transmitted the
                            response through the communication network interface port. This is illustrated in the query response
                            displayed to the user.
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 21. The method             On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according to claim 11,     performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 further comprising:        performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 receiving words and an     accused instrumentality as described in this claim chart without performance of the steps recited in this
 associated location        claim. By providing the functionality of the accused instrumentality as described herein, Defendant also
 through the                controls the manner and/or timing of the functionality described in this claim chart. In other words, for a
 communication              user to utilize the functionality described in this claim chart, the steps of this claim must be performed in
 network interface port     the manner described herein. Without performance of the steps as described herein, the Defendant’s
 from the mobile            functionality will not be available to users.
 electronic device
 storing the received       On information and belief, Samsung’s Bixby virtual assistant involves receiving words and an associated
 words and associated       location through the communication network interface port from the mobile electronic device,
 location in the            storing the received words and associated location in the database; and
 database; and              retrieving the words from the database dependent on at least a location query.
 retrieving the words
 from the database          For example, on information and belief, Bixby involves receiving and storing keywords (e.g., “coffee
 dependent on at least a    shops” or “gas stations”) and associated locations (e.g., the location of coffee shops and gas stations). On
 location query.            information and belief, those words can be retrieved from the database dependent on at least a location
                            query (e.g., “find coffee shops [or gas stations] near me”).
 22. A computer             As shown below, Samsung’s Bixby virtual assistant utilizes a computer readable medium storing
 readable medium            instructions therefore for causing a programmable processor to present location-based information to a
 storing, instructions      mobile electronic device dependent on its location.
 therein for causing a
 programmable
 processor to present
 location-based
 information to a mobile
 electronic device
 dependent on its
 location, comprising:
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 instructions to cause a    Samsung’s Bixby virtual assistant utilizes instructions to cause a database system to store and retrieve
 database system to         location-based information for a traveler, the location-based information comprising location-based travel
 store and retrieve         information and location-based advertisements.
 location-based
 information for a          For example, in testing, a user asked Bixby, “Hi Bixby, how long will it take me to get home right now in
 traveler, the location-    traffic?”
 based information
 comprising location-       As pictured below, Bixby utilized Google Maps to display an answer to the request, showing the answer to
 based travel               be twelve minutes. This evidences that Samsung’s Bixby utilizes a database configured to automatically
 information and            store and retrieve location-based information for a traveler. This includes location-based travel information
 location-based             (e.g., the information showing the route from the user’s current location to the destination) and location-
 advertisements;            based advertisements (e.g., the advertisements for Costco Wholesale and Firestone Complete Auto Care).
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 instructions to receive a   Samsung’s Bixby virtual assistant utilizes instructions to receive a location from a mobile electronic device
 location from a mobile      through a communication network interface.
 electronic device
 through a                   For example, as illustrated in the example above, Samsung utilized a server that received a location from
 communication               the user’s mobile electronic device.
 network interface;

 instructions to receive     Samsung’s Bixby virtual assistant utilizes instructions to receive location-based information from the
 location-based              mobile electronic device through the communication network interface.
 information from the
 mobile electronic           For example, as illustrated in the example above, Samsung utilized a server that received location-based
 device through the          information from the mobile electronic device (e.g., speed and traffic-related information, as indicated by
 communication               the orange segments near the user’s location).
 network interface;

 instructions to retrieve    Samsung’s Bixby virtual assistant utilizes instructions to retrieve location-based travel information from
 location-based travel       the database system dependent on the received location of the mobile electronic device.
 information from the
 database system             For example, as illustrated in the example above, Samsung utilized a server that automatically retrieved
 dependent on the            location-based travel information from the database system (e.g., route and traffic information) dependent
 received location of the    on the received location of the mobile electronic device.
 mobile electronic
 device;

 instructions to retrieve    Samsung’s Bixby virtual assistant utilizes instructions to retrieve a location-based advertisement from the
 a location-based            database system dependent on at least the received location of the mobile electronic device and relevant to
 advertisement from the      at least one spoken keyword.
 database system
 dependent on at least       For example, as illustrated in the example above, Samsung utilized a server that automatically retrieved a
 the received location of    location-based advertisement from the database system dependent on at least the received location of the
 the mobile electronic       mobile electronic device and relevant to at least one spoken keyword (e.g., advertisements for Costco and
 device and relevant to      Firestone near the user’s route to his spoken destination, “home.”
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 at least one spoken
 keyword; and

 instructions to present    Samsung’s Bixby virtual assistant utilizes instructions to present the retrieved location-based
 the retrieved location-    advertisement to a user of the mobile electronic device.
 based advertisement to
 a user of the mobile       For example, as illustrated in the example above, Samsung utilized a server that automatically presented
 electronic device.         the retrieved location-based advertisement to a user of the mobile electronic device.
